Case 2:1O-CV-00314-WTL-WGH Document 1 Filed 11/22/10 Page 1 of 18 Page|D #: 1

Steven L. Barker # 15893-076

Namc md Prisoner/Booking Number f ‘:" ‘;,!‘ '4\
U-S-P- Canaan

Flac= of Coniinement

3057 Eastern Turnpike, P.O. Box 300

Mm'ling Address

Wa¥mart. PA 18472-03QO

Cicy, Sme, Zip Code

(Failure to notify the Court of your change of address may result in dismissal of this action.)

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF INDIANA
i
S'I`EVEN L . BARKER
(Ful| Name of Plninn`fl) Plaintiff’

1
2 210 -cv- ().Q v1_<~:-W'I`L-TAB

CASE NO.
(To be supplied by the Clerk)

VS.

 

(1) BUREAU OF PRISONS;LT. MCPHERSON

(Full Nnme o{Defcndant)
(ZgT. EMMERICH, `sENIoR oFFIoER

CIVIL RIGHTS COM]’LAINT

(3@OB0, SIA JEAGER. anLCOrreCti-. BYAPRISONER

(4Enal Officers John/Jane Doe 1-100
Defendant(s).

|:] Chcck if there are additional Defendants and mach page l~A listing thcm.

l§ Original Complaint
\:\ First Amended Complaint
\:l Second Amended Complaint

, a
~_/ \/ \/\/\/\/\/\/\/\/\/\/\/\/\/

 

A. JURISDICTION

l. This Court has jurisdiction over this action pursuant to:
l:l 28 U.S.C. § 1343(a);'42 U.S.C. § 1983

@ 28 U.S.C. § 1331; Bivens v. Six Unknown Federal Narcotics Aaents, 403 U.S. 388 (1971).
Uother: 28 u.S .c. Section 2671 tet .al.

2. lnstitution/city where violation occurred: Te t t e Hau t e ’ I n d l an a

kevis=d 3/9m7 1 5 50/5 5 5

 

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B. DEFENDANTS

l. Name offirst Defendant: See At tached

. The first Defendant is employed as:

 

 

 

 

 

 

at
(Posirion and rin¢) ans¢imrion)
2. Narne of second Defendant: . The second Defendant is employed as:
(Posirion and Tin¢) at anscitucion) -
3. Name of third Defendant: . The third Defendant is employed asc
(Posirion and Tiu¢) at ans¢iiuu'on) '
4. Name of fourth Defendant: . The fourth Defendant is employed as:
at .

 

(Position and Title)

(Institution)

If you name more than four Defendants, answer the questions listed above for each additional Defendant on a separate page.

C. PREVIOUS LAWSUITS

l. Have you filed any other lawsuits while you were a prisoner?

l:l Yes E No

2. lf yes, how many lawsuits have you filed? . Describe the previous lawsuits:

a. First prior lawsuit:

l. Paxties: v.

2. Court and case number:

 

3. Result: (W as the case dismissed? Was it appealed? Is it still pending?)

 

b. Second prior lawsuit:

1. Paxties: v.

Court and case number:

 

 

2.
Ij. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

 

c. Third prior lawsuit:

l. Paxties: v.

 

2. Court and case number:

 

3. Result: (W as the case dismissed? Was it appealed? ls it still pending?)

 

If you filed more than three lawsuits, answer the questions listed above for each additional lawsuit on a separate page.

 

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D. CAUSE OF ACTION

COUNT I
l. State the constitutional or other federal civil right that was violated: S ee A t t ached

 

2. Count I. Identify the issue involved. Check only one. State additional issues in separate counts.
l:| Basic necessities l:l Mail l:l Access to the court |:l Medical care
\:l Disciplinary proceedings l:l Property l:l Exercise of religion l:l Retaliation
l:l Excessive force by an officer l___l Threat to safety |:l Other: S 99 At tach€d

3. Supporting Facts. State as briefly as possible the FACTS supporting Count I. Describe exactly what

each Defendant did or did not do that violated your rights. State the facts clearly in your own words without

citin le al authori or ar urnents.
SeegAtgtachedty g

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4. Injury. State how you were injured by the actions or inactions of the Defendant(s).
See Exhibits thru and attached.

 

 

5. Adminis_trative Remedies: -
a. Are there any administrative remedies (grievance procedures or administrative appeals) available

at your institution? le Yes |:l No
b. Did you submit a request for administrative relief on Count I? iii Yes l___l No
c. Did you appeal your request for relief on Count I to the highest level? El Yes |:l No
d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why
you did not.

 

 

 

 

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COUNT II
l. State the constitutional or other federal civil right that was violated: S ee A t t ach ed

 

2. Count II. Idcntify the issue involved. Chcck only one. State additional issues in separate counts.
l:l Basic necessities El Mail l:l Access to the court m Medical care
l:l Disciplinary proceedings l:l Property l:l Exercise of religion l:\ Retaliation
l:l Excessive force by an officer l:l Threat to safety l:l Other: See At taCh€d

3. Supporting Facts. State as briefly as possible the FACTS supporting Count Il. Describe exactly what
each Defendant did or did not do that violated your rights. State the facts clearly in your own words without
citing legal authority or arguments.

See Attached

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4. Injury. State how you were injured by the actions or inactions of the Defendant(s).
See Exhibits thru and Attached.

 

 

5. Administrative Remedies.
a. Are there any administrative remedies (grievance procedures or administrative appeals) available

 

 

at your institution? @ Yes l:l No
b. Did you submit a request for administrative relief on Count II? § Yes l:l No
c. Did you appeal your request for relief on Count ll to the highest level? @`Yes l:l No
d. lf you did not submit or appeal a request for administrative relief at any level, briefly explain why
you did not. 4

 

 

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COUNT m
l. State the constitutional or other federal civil right that was violated: 5 €€ At t 810th

 

2. Count lII. ldentif`y the issue involved. Check only one. State additional issues in separate counts.
l:l Basic necessities - l:l Mail ij Access to the court l:l Medical care
l:l Disciplinary proceedings l:l Property l:l Exercise of religion l:l Retaliation
\:l Excessive force by an officer \:l Threat to safety ij Other: See At tached

3. Supporting Facts. State as briefly as possible the FACTS supporting Count III. Describe exactly what
each Defendant did or did not do that violated your rights. State the facts clearly in your own words without
citing legal authority or arguments

See Attached

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4. Injury.' State how you were injured by the actions or inactions of the Defendant(s).
See Exhibits thru and Attached.

 

 

5. Administrative Remedies.
a. Are there any administrative remedies (grievance procedures or administrative appeals) avallable

at your institution‘? Yes l:l No
b. Did you submit a request for administrative relief on Count III? E(l Yes l:] No
c. Did you appeal your request for relief on Count III to the highest level? le Yes \:l No
d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why
you did not.

 

 

lf you assert more than three Counts, answer the questions listed above for each additional Count on a separate page.

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E. REQUEST FOR RELIEF

State the relief you are seeking:
See Attached.

 

 

 

 

 

 

I declare under penalty of perjury that the foregoing is true and correct.

Executed on l l `| _| ` |'G `)Q §ijv\,w€l’\ 1 BC\.\SQJ`\,

DATE SIGNATURE OF PLAINTIFF

153-tmst ;7“. A/,LL_I *M:rd?-o/c;.

(Name and tit of parale}gal, legal assistant, or

o”t,__"l_i_er person ho helped prepare this complaint)

 

 

 

L/

 

 

(Attomey’s address & telephone number)

ADDITIONAL PAGES

All questions must be answered concisely in the proper space on the form. If you need more space, you may
attach no more than fifteen additional pages. But the form must be completely filled in to the extent

applicable If you attach additional pages, be sure to identify which section of the complaint is being continued
and number all pages.

(7\

 

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lN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF lNDlANA
TERRE HAUTE DlVlSlON

STEVEN L. BARKER,

Fed. Reg. No. 15893-076
U.S.P. Canaan

3057 Eastern Turnpike
P.O. Box 300

Waymart, PA 18472-0300,

Plaintiff,

TRlAL BY JURY DEMANDED

v. . Civil Action No.

BUREAU OF PRISONS,

LT. MCPHERSON,

LT. EMMERICH,

SENIOR OFFICER BOBO,
s.t.A. JEAGER, and
Correctional Officers
John/Jane Does, 1-100,

Defendants.

 

 

COMPLAINT

NOW COMES the Plaintiff, Steven L. Barker, in pro se l/ and

pursuant to 28 U.S.C. § 2671 et.seq. and Bivens v. Six Unknown

 

Agents, 403 U.S. 388 (1971)(28 U.S.C. § 1331), and hereby files
the instant complaint against the named Defendants, for damages,

and states as follows:

JURISDICTION

Jurisdiction is invoked pursuant to the Federal Tort Claims

 

_1_/ Marshaii v. i<nighr,, 445 F.3d 965, 969 (7th cir. 2006>(pr0 Se

p aintiff S complaint is to be liberally construed).

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Act ("FTCA"), 28 U.S.C. § 2671 et.seq. Z/ and Bivens v. Six
Unknown Agents, 403 U.S. 388 (1971)(28 U.S.C. § 1331).
PARTIES
Plaintiff is Steven L. Barker, who at all times relevant, was
a prisoner in custody of the Federal Bureau of Prisons at Terre

Haute, lndiana. Plaintiff's current legal mailing address is:

Steven L. Barker

Fed. Reg. No. 15893-076
U.S.P. Canaan

3057 Eastern Turnpike
P.O. Box 300

Waymart, PA 18472-0300

Defendant Federal Bureau of Prisons is an agency of the United

 

Liability under the Federal Tort Claims Act. The Federal Tort Claims
Act ("FTCA”) grants the federal district courts jurisdiction over a
category of claims for which the United States has waived its sovereign
immunity and rendered itself liable. See 28 U.S.C. § 1346(b); Federal
De sit Ins. Co . v. Me er, 510 U.S. 471, 477, 114 S.Ct. 996, 127
L.E§.Zd 308 ll§§§l. Under the FTCA, the government is liable for the
negligent conduct of an employee "while acting within the scope of his
office or employment" under circumstances where "a private person [j
would be liable to the claimant in accordance with the law of the place
where the act or omission occurred." 28 U.S.C. § 1346(b)(1). The
Supreme Court has "consistenly held that § 1346(b)'s reference to the
law of the place means law of the State--the source of substantive
liability under the FTCA." Meyer, 510 U.S. at 478. AS such, "for
liability to arise under the FTCA, the plaintiff's cause of action

must be 'comparabler' to a 'cause of action against a private citizen'
recognized in the jurisdiction where the tort occurred, and the allega-
tions, taken as true, must satisfy the necessary elements of that
comparable state cause of action." Bergquist v. United States, 849
F.Supp. 1221, 1232 (N.D. Ill. 1994)(quoting Chen v. United States, 854
F.2d 622, 626 (an Cir. 1988)). Under Indiana law, the tort of battery
is defined as "[a] harmful or offensive-contact with a person, resulting
from an act intended to cause the plaintiff or a third person to suffer
such a contact, or apprehension that such a contact is imminent...."
West v. LTV Steel Co., 839 F.Supp. 559, 562 (N.D. Ind. 1993)(quoting
Fields v. Cummins Employees Fed. Credit Union, 540 N.E.2d 631, 640 (Ind.
Ct. App. 1989)). T'lt has long been established in Indiana that 'any
touching, however slight, may constitute assault and battery.'" Oliver

v. McClun , 919 F.Supp. 1206, 1220 (quoting Cohen v. Peo les, 140 Ind.
Kpp. 353, 220 N.E.2d 665 (lnd. Ct. App. 196655.

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States Department of Justice under the direction of the United
States Attorney General, Eric Holder, and the Director of the
Federal Bureau of Prisons, Harley G. Lappin. The Federal Bureau
of Prisons business mailing address is:

Federal Bureau of Prisons

Central Office

320 First St. N.W.
Washington, DC 20534

Defendants Lt. McPherson, Lt. Emmerich, Senior Officer Bobo,
S.I.A. Jeager, and Correctional Officers John/Jane Does, 1-100,
are all correctional officers employed by the Federal Bureau of
Prisons, United States Department of Justice, at the Federal
Correctional Complex in Terre Haute, lndiana. The Defendants
business mailing address is:

Federal Correctional Complex
4200 Bureau Rd. North

P.O. BoX 33

Terre Haute, Indiana 47808

All named Defendants are sued in both their official and

individual capacities.
PREVIOUS LAWSUITS
No previous lawsuits have been filed by this Plaintiff.
EXHAUSTION OF AVAlLABLE ADMlNlSTRATlVE REMEDIES

All available administrative remedies have been exhausted
under the Federal Bureau of Prisons Administrative Remedy Procedure,
P.S. 1330.16, as is required under 42 U.S.C. § 1997e. See Exhibits
A- . (All the attached Exhibits are incorporated by reference as
though fully set forth herein. See Fed.R.Civ.P. 10(c); Q££i§_!;
Downey, 561 F.3d 664 (7th Cir. 2009)).

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STATEMENT OF THE CASE

On March 11, 2009, the undersigned Plaintiff was seriously
assaulted by federal correctional officers at the United States
Federal Correctional Complex (FCI) in Terre Haute, lndiana.

Specifically, on March 11, 2009, at the Federal Correctional
lnstitution in Terre Haute, lndiana, there was an incident in
(F-Unit), Cell 74, an inmate by the name of Steven Marsh #41872-039
was thought to have been assaulted in his cell. While conducting
an investigation of the incident a Lt. Emmerich asked me to put
my hands on bunk; He started running his hands down in my pockets
which pulled my shorts down from my waist. He then took my glasses
off my face and threw then somewhere behind me. He then proceeded
to run his hands all around my body which amounted to me more than
sexual harassment. l asked Lt. Emmerich nicely if he could step
outside the cell because the cells here are extremely small and
he stated, "l will do whatever the fuck l want to do!" lt was at
this time that l realized that there was no reasoning with this
man.

After the shakedown of my cell, he asked me at that time to
step down to the (F-Unit T.V. Room). Lt. Emmerich asked me at
that time if l assaulted inmate Steven Marsh. l stated to him l
had nothing to say and to go ahead and take me to the Special
Housing Unit. He tells me to have a seat in the tv room. Appro-
ximately ten minutes later, Lt. Emmerich comes back to the tv
room and asked me to follow him to the Lt.'s Office.

When we reached the Lt.'s Office he tells me to have a seat.

(At this time l was not handcuffed).

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Another ten minutes passes and he asked me my name and number.
lt was at this time that Lt. Emmerich started talking in a
manner which made it obvious that he wanted a confrontation (also
in the office was Lt. McPherson, who was sitting at a desk in the
back center of the room). Lt..Emmerich called for Officer Bobo
on the radio to escort me to the Special Housing Unit (at this time
l was handcuffed behind my back). l asked him to please let me
have my glasses because l cannot see without them. He said "fuck
you, you have nothing coming." l said that l didn't understand
why he was so upset over a child molester getting assaulted, I
guess they need to check on his past. He jumped up and grabbed
me by the handcuffs and beat me until l deficated on myself. l
was beaten between one and two minutes. There was blood everwhere.
He then picked me up by the handcuffs and throws me to Officer
Bobo and tells me that is what l get for calling him a bitch. l
never called him a bitch. On the way to the Special Housing Unit,
he tried to have Officer Bobo take me back in the Lt.'s Office.
I refused to go and told him that if he was going to kill me that
he was going to do it in front of the cameras in the corridor.
At that time he brought a broken camera and took a picture of me.
After taking pictures, l was on my way escorted to the Special
Housing Unit withou any medical attention.
On our way to the Special Housing Unit we were approached
by Officer Waylon from (K-Unit). He asked me if l was alright
and l told him that l was alright. He asked me who did this to
me and l told him that Lt. Emmerich did it. Officer Waylon looks

Officer Bobo in the eyes and Officer Bobo confirmed with a(it must
be noted that by saying I was alright, l meant that l would survive)

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("yes" head shake). Officer Waylon is so worried at this point
of my welfare that he asked Officer Bobo to let him take me to
the Special Housing Unit. Officer Bobo refused.

As l entered the Special Housing Unit, l was met by Officer
Bryan and Officer Buck. They asked what happened and l told them
what Lt. Emmerich had done. They both were shaking their heads
in disbelief. l asked them if they would both (Bryan and Buck)
testify to my condition. They said that if anyone came to talk
with them that they would be more than glad to.

On March 12, 2009, l had Lt. Winterberger (S.l.S.) come to
my cell (B-28) and hand me two disciplinary reports: (1) one
for assaulting inmate Marsh; and (2) the second one was for spit-
ting on Lt. Emmerich. This incident had went from me calling him
a bitch to spitting on him. l asked Lt. Winterberger about this
and he told me that he never heard anything about me calling him
a bitch. l told him that l didn't call Lt. Emmerich a bitch and
l didn't spit on him either. l told Lt. Winterberger that this
was a lie and that it was not going to go away. l asked him if
there was going to be an investigation of this and he told me
probably not. lt was at this time that Lt. Winterberger asked
me if l would accept an apology from Lt. Emmerich and l said
"Hell no!" l told him that l wanted him charged by the F.B.l.
and that l will not let this go until Lt. Emmerich is prosecuted
for assault and falsifying government documents. l told him that
l had contacted my family about this matter.

On March 17, 2009, Captain Kalman came to my cell, l told

him what happened and he cut me off and said that he was sending

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me across the street (the U.S.P. is across the street). Because
my points were too high. l showed him a newspaper where a man
had received 41 months in Federal Prison for falsifying documents.
l told him that l wanted an investigation done on this incident.
He turned around and told Lt. Winterberger to open an investigation.
Captain Kalman told me to trust him and that there would be an
investigation. On March 18, 2009, Captain Kalman came back to my
cell and told me that he sent the paperwork across the street to
the S.IJA. at the U.S.P.

On March 23, 2009, Counselor Edwards which is my counselor
in (F-Unit), came to my cell and told me that he tried his best
to get the incident with me and Lt. Emmerich kicked up to his old
boss the S.I.A. Counselor Edwards worked for S.I.S. before
becoming a counselor in (F-Unit). He told me he didn't think he
would have much luck since S.I.S. Winterberger was the one who
helped get Lt. Emmerich brought to F.C.I. Terre Haute. Counselor
Edwards said that he thought it should be investigated by a
higher authority for this reason.

On March 23, 2009, Case Manager Perdue from (L & M Units)
came to my cell. l asked Case Manager Perdue to be my staff
representative on my disciplinary reports. He told me to tell
that to my unit team at my U.D.C. Hearing. l asked Case Manager
Perdue if he thought that l did what the reports said l did. He
told me "Hell No!" He told me that Lt. Emmerich doesn't know
that the staff gets along with me because of all the work l do

around the institution. Mr. Perdue goes on to state that no one

believes any of that shit that Lt. Emmerich was saying. l said

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what about my unit team members, and he shook his head no and told
me that they didn't believe it either.

On March 12, 2009, Counselor Edwards from (K & J Units)(this
is not the same Counselor Edwards that is my counselor in (F Unit),
came to my cell to see if I was alright. I showed him my body
where Lt. Emmerich had beaten me. l also showed him the stitches
that l received above my left eye. l asked him if he thought that
l did the things that Lt. Emmerich accused me of. He told me that
he did not believe that l did what Lt. Emmerich said l did. He
went on to tell me that he had talked with Officer Waylon and that
Officer Waylon had told him that he could not recognize me when l
was being escorted to the Special Housing Unit by Officer Bobo.
Officer Waylon told him that l was really messed up and covered
head to toe in blood.

On April 1, 2009, I had my D.H.O. Hearing on the two Discip-
linary Reports that Lt. Emmerich had written me. After hearing
all the evidence on the assault charge that l supposedly committed
against Steven Marsh, the D.H.O. found me NOT GUILTY, and after
having the evidence that was gathered for the assault charge on
Lt. Emmerich, he ordered an investigation by the S.I.A. to be
conducted on this matter. The reason for this is that the D.H.O.
Officer told me that Lt. McPherson stated in his report that he
seen me spit on Lt. Emmerich. At that time my staff representative
Mr. Perdue intervened and said that this was simply a lie, that
Lt. McPherson had told Mr. Perdue that he didn't see inmate Barker
spit on Lt. Emmerich. This is why an investigation was ordered by

the D.H.O. I also stated to the D.H.O. that if I am found guilty

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of assaulting Lt. Emmerich, that l wanted to be charged by the
F.B.r. -3-/

The Disciplinary Reports that were written under fraudulent
pretenses were ultimately expunged based on a finding that the
charges were baseless and contained inconsistent statements as
well as false statements.

0n MBY 21, 2010, the undersigned filed a claim for damages
pursuant to the FTCA with the Federal Bureau of Prisons. To date,
no final action has been taken.

Since there has been no proper final agency denial within 6
months of the claim as required by 28 U.S.C. § 2675, the Plaintiff
has the right at any time of his own option to deem such a failure
to be a final agency denial. This is precisely the result allowed
in Mack v. United States Postal Service, 414 F.Supp. 504 (D.C.
Mich. 1976). In that case, an agency had not acted on the plain-
tiff's claim. The court found that the denial could not be deemed
to have occurred Sixh months after the date of the claim. Such a
result would be too harsh. The court said that 28 U.S.C. § 2675
(a) and the statute of limitations of 28 U.S.C. § 2401 are to be

read together. 28 U.S.C. § 2675(a) provides:

 

To state a claim under the federal notice pleading standards, all
that a complaint must do is set forth "a short and plain statement
of the grounds for the court's jurisdiction." "a short and plain
statement of the claim showing that the pleader is entitled to
relief," and "a demand for relief sought." Fed.R.Civ.P. 8(a). o
Factual allegations are accepted as true and need only give "fair
notice of what the ... claim is and the grounds upon which it
rests." EEOC v. Concentra Health Servs.1 lnc., 496 F.3d 773, 776
(7th Cir. 2007)(quoting Bell Atl. Corp, v. Twombl , 550 U.S. 544,
555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007))(other citation omitted).

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The failure of an agency to make final disposition
of a claim within six months after it is filed shall,
at the option of the claimant any time thereafter, be

deemed a final denial of the claim for purposes of this
section.

The Court in Mack found that this gave the claimant the
option to pick the time on which the agency action was deemed to

be finally denied. See Appendix A, hereto.

As stated supra, on May 21, 2010, Plaintiff filed an FTCA

claim utilizing the standard form 95. Therein said form, Plaintiff

made the following claim:

On March 11, 2009, Lt. Emmerich of the United States
Federal Correctional Complex, in Terre Haute, lndiana,
assaulted me in the Lieutenant's Office of the Federal
Correctional lnstitution located on the Complex.

Lt. Emmerich viciously assaulted me by slamming my

right shoulder into institutional Postal lock boxes
located in the Lieutenant's Office, in an attempt to

ram my face into those lock boxes. The impact of the
assault was so forceful that it left impression marks
from the lock boxes in my right shoulder. (See attached
affidavits.) The injuries l sustained included but were
not limited to a cut and contusion above my left eyebrow,

cuts and bruises, laceratins and loss of blood from my
face, knees and shins.

ln support of the foregoing claims, the attached affi-
davits and exhausted Administrative Remedies are hereby
incorporated by references as though fully set forth
herein. Further, the medical reports attached hereto
also incorporated by reference.

A claim for dama es made pursuant to the Federal Tort
Claims Act (FTCA , 28 U.S.C. Section 2671, et.seq.,
shall be deemed presented when a federal agency receives
from a claimant an executed Standard Form 95 or other
written notification of an indident, accompanied by a
claim for money damages in a sum certain for injury of

the claimant by an employee of the federal government
or agency of the government.

This particular claim being submitted here is limited
to the liability of the government based on the acts
and ommissions of Lt. Emmerich while employed by the
Federal Bureau of Prisons when this Officer assaulted

the undersigned on March 11, 2009. (CaS€ law and final
Paragraph omitted).

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CAUSES OF ACTION
Count One:

As to Defendant Bureau of Prisons negligence for failure to
properly train its employees Defendants Lt. McPherson, Lt.
Emmerich, Senior Officer Bobo, S.I.A. Jeager, and Correctional
Officers John/Jane DoeS, 1-100. Plaintiff requests $250,000.00
compensatory damages and $500,000.00 punitive damages;

Count Two:

As to Defendants Lt. McPherson, Lt. Emmerich, Senior Officer
Bobo, S.l.A. Jeager, and Correctional Officers John/Jane Does,
1-100, falsification of official documents; deliberate indiffer-
ence; assault and battery. Plaintiff requests $250,000.00 compen-

satory damages and $500,000.00 punitive damages;

Count Three:
As to Defendant Lt. Emmerich, assault and battery and falsi-
fication of official documents, intentional infliction of

emotional distriss.é/ Plaintiff requests $1,500,000.00 compen-

satory damages and $5,000,000.00 punitive damages-

 

The Indiana Supreme Court defined the tort of intentional infliction
of emotional distress as follows: "'one who by extreme and outrageous
conduct intentionally or recklessly causes severe emotional distress
to another is subject to liability for such emotional distress....'
RESTATEMENT (SECOND) OF TORTS § 46 (1965). lt is the intent to harm
one emotionally that constitutes the basis for the tort of an inten-

tional infliction of emotional distress." Id. (quoting Cullison, 570
N.E.Zd 27 at 31).

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CONCLUSION
WHEREFORE, Plaintiff respectfully requests that this Honorable
Court grants the relief requested herein above and any other relief

the Court may find due and owing Plaintiff under the circumstances.

Respectfully submitted,

Dated= \\-11~ 10 x shirts/vi l 151le
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Plaintiff, Pro Se

 

